       4:14-cr-00754-BHH          Date Filed 10/21/20     Entry Number 80        Page 1 of 3


AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)

                              UNITED STATES DISTRICT COURT
                              FOR THE     DISTRICT OF SOUTH CAROLINA

 UNITED STATES OF AMERICA
                                                          Case No. 4:14-cr-00754-BHH

                                                          ORDER ON MOTION FOR
 v.                                                       SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)

 TERRENCE TERRILL BENNEKIN                                (COMPASSIONATE RELEASE)


        Upon motion of       the defendant      the Director of the Bureau of Prisons for a

reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable

factors provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the

Sentencing Commission,

IT IS ORDERED that the motion is:

      GRANTED

            The defendant’s previously imposed sentence of imprisonment of              is reduced to

       . If this sentence is less than the amount of time the defendant already served, the sentence

is reduced to a time served; or

            Time served.

        If the defendant’s sentence is reduced to time served:

                       This order is stayed for up to fourteen days, for the verification of the

                       defendant’s residence and/or establishment of a release plan, to make

                       appropriate travel arrangements, and to ensure the defendant’s safe

                       release. The defendant shall be released as soon as a residence is verified,

                       a release plan is established, appropriate travel arrangements are made,
4:14-cr-00754-BHH       Date Filed 10/21/20       Entry Number 80         Page 2 of 3




               and it is safe for the defendant to travel. There shall be no delay in

               ensuring travel arrangements are made. If more than fourteen days are

               needed to make appropriate travel arrangements and ensure the

               defendant’s safe release, the parties shall immediately notify the court and

               show cause why the stay should be extended; or

               There being a verified residence and an appropriate release plan in place,

               this order is stayed for up to fourteen days to make appropriate travel

               arrangements and to ensure the defendant’s safe release. The defendant

               shall be released as soon as appropriate travel arrangements are made and

               it is safe for the defendant to travel. There shall be no delay in ensuring

               travel arrangements are made. If more than fourteen days are needed to

               make appropriate travel arrangements and ensure the defendant’s safe

               release, then the parties shall immediately notify the court and show cause

               why the stay should be extended.

     The defendant must provide the complete address where the defendant will reside

upon release to the probation office in the district where they will be released because it

was not included in the motion for sentence reduction.

     Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term”

of     probation or     supervised release of         months (not to exceed the unserved

portion of the original term of imprisonment).

            The defendant’s previously imposed conditions of supervised release apply to

        the “special term” of supervision; or

            The conditions of the “special term” of supervision are as follows:


                                          2
       4:14-cr-00754-BHH          Date Filed 10/21/20        Entry Number 80          Page 3 of 3




            The defendant’s previously imposed conditions of supervised release are unchanged.

            The defendant’s previously imposed conditions of supervised release are modified as

        follows:



    DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the

United States Attorney to file a response on or before            , along with all Bureau of Prisons

records (medical, institutional, administrative) relevant to this motion.

    DENIED after complete review of the motion on the merits.

            FACTORS CONSIDERED (Optional)
Defendant's motion appears to be premised on his elderly mother's recent cancer diagnosis, chronic kidney disease,
diabetes, heart attacks, and a stroke, coupled with the risk of her contracting COVID-19. While the Court is certainly
sympathetic to Defendant's position and his mother's health needs, Defendant's motion, on its face, does not present
extraordinary and compelling circumstances within the meaning of 18 U.S.C. § 3582(c)(1)(A)
            DENIED WITHOUT PREJUDICE because the defendant has not exhausted all

administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since

receipt of the defendant’s request by the warden of the defendant’s facility.

IT IS SO ORDERED.

Dated: October 21, 2020

                                                     /s/ Bruce Howe Hendricks
                                                        UNITED STATES DISTRICT JUDGE




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